Case 1:17-cv-02899-LTS Documenti1-11 Filed 04/21/17

Correction Officers’ Benevolent Association, Inc.
“Patrolling the Toughest Precincts in New York”

ELIAS HUSAMUDEEN
President

JOSEPH BRACCO
Jot Vice President

ELIZABETH CASTRO

2nd Vice President

31d View President

MICHAEL MAIELLO

Treasurer

AMELIA WARNER

Financial Secretary

THOMAS FARRELL
Legislative Chairman

KENYATTA JOHNSON
Corresponding Secretary

KAREN BELFIELD

Recording Secretary

BENNY BOSCIO
Sergeant At Arms

ALBERT CRAIG
Fitst City-Wide Trustee

ANGEL CASTRO
Manhattan Borough Trustee

_  NIEL PALMIERI
Bronx Borough Trustee

FREDERIC FUSCO
Queens Borough Trustee

PAULETTE JOHNSON
Brooklyn Borough Trustee

BISHOP WILLIAM
RAYMOND WHITAKER II
Chaplain

VINCENT COPPOLA
Retiree Consultant

KOEHLER & ISAACS, LLP
CORA Attorney

75 Broad Street, Suite 0810
New York, NY 10004

t. 212.274.8000

f. 212.274.8255

COBA Satellite Office
77-10 21st Avenue

East Elmhurst, N.Y. 11370
t. 718,545.COBA (2622)

f. 718.545.2668

Ree
ay
Plat:

COBANYC.ORG  }

Page 1 of 2

  

Si
oq OE NEW ¥5 Ss
ON Gane Tae) A]
te f ty
eh £, N\
al ft

x) w\4

2
Cc
te,

 
   
 

   

August 3, 2016
Joseph Ponte, Commissioner
New York City Department of Correction
75-20 Astoria Boulevard
East Elmhurst, New York 11370

Dear Commissioner Ponte:

When three hundred ninety-four (394) Correction Officers are assaulted in a six (6) month
period as the Department of Correction reported to the New York Times, this is not cause for celebration
but a call to action. What the Department and City praise as substantial progress, we see as three hundred
ninety four (394) officers, men and women, who every day put their life on the line without adequate
protections to prevent these assaults. What adds insult to these injuries, is the Department's and City’s
failure to acknowledge its lack of a strategic plan to ensure these violent inmates are not allowed to repeat
thelr actions by placing them back in the same situation that allowed them to be assaultive in the first
place. What the Department and the City cannot see is crystal clear to the Correction Officers Benevolent
Association (COBA). The Department's position, whether truly believed, or forced upon them by the
Mayor's office and the Board of Correction, in regards to the use of punitive segregation is simply put,
dangerous to Correction Officers.

The reduction of days, from ninety (90) to thirty (30), that an inmate can be placed in punitive
segregation is ineffective to deter violent inmates from repeating their violent actions. To be clear, the
COBA is not calling for the placement of inmates that violate Department rules into punitive segregation in
every situation. While it is up to the Department to properly manage the agency and determine penalties
for inmates who do not comply with the Department's rules, there are certain offenses, such as an assault
on a Correction Officer that must result in the assaultive inmate being placed in punitive segregation for a
significant period of time. If after up to ninety (90) days in punitive segregation the inmates behavior hasn't
changed or been modified, he/she should be turned over to the Department of Mental Health for evaluation
and treatment. Without a more effective change in the use of punitive segregation, the COBA demands
the following action be taken.

Effective immediately, any inmate who assaults a Correction Officer must be removed from the
custody of the DOC and housed in another jurisdiction. Furthermore, it is our position that that jurisdiction
should be one that has, as a deterrent to violence, the full use of punitive segregation for assaultive
inmates. Our demand is not made because the members of the COBA, the best Correction Officers in the
nation, do not want to perform their sworn duties of care, custody and control of the inmates detained by
the Department. Our demand is not made because the members of the COBA are not willing to adapt to
new ideas or strategies in criminal justice reform. We are making this demand because the Department's
policies have created a dangerous environment and the current policies in place have not been effective in
stopping the violence, in fact the violence has even gotten worse.

As you are aware the Department has historically sent inmates to other jurisdictions for various
reasons and they should do so now since providing either unwilling or unable to protect Correction Officers.
By this action, the Department and City would be sending a clear message to inmates that they do not
have free reign to assault Correction Officers.

  

‘ ye
lias \Husamudeen
President

 
Case 1:17-cv-02899-LTS Document 1-11 Filed 04/21/17 Page 2 of 2

Exhibits

NKM EK CAYRPOVPOZEZOC AM KMOAMOOWD

Directive 4501R-D — Punitive Segregation

Excerpt 2017 Mayors’ Report Excerpt

Federal Monitor’s Third Report Excerpts

NY Daily News’ Article Regarding the Calderon Slashing dated 11/06/15.

ABC News 7’s Article Regarding the Inmate Attack on Five Officers dated 01/07/17.
NY Daily News’ Article Regarding the Attacks on Brands and Edmund dated 09/13/16.
NY Daily News’ Article Regarding the Attack on Castro dated 05/3/16.

Defendant Ponte’s March 10, 2016 Statement.

April 2016 Press Release by de Blasio and Ponte re punitive seg reductions/eliminations
DOC ESH Flyer

COBA President Husamudeen’s August 3, 2016 Letter.

Consent Judgment

. Directive 5000R-C (Old UOF)

Directive S000R-D (New UOF)

Directive 4018R — Mentally Ill

BOC’s Mental Health Minimum Standards

Federal Monitor’s Second Report Excerpts

COBA Letter from June 2016 Husamudeen Re Academy

Defendants’ Facilities Overview

NBC News’ Report on Inmate Rampage at West Facility dated 10/05/16.

NY Daily News’ Article Regarding the Hughes’ Slashing and dated 09/01/16.
WPIX News 11’s Article Regarding the Hines Slashing dated 12/15/16.

New York Post Article Regarding Bloods’ Hit List dated 05/02/14.

NY Daily News Article Regarding the Lugo Slashing dated 07/27/16.
NY Daily News Article Regarding Attempted rape dated 03/03/15.
New York Post’s Article Regarding “Fudging” of Statistics dated 12/05/15.

AA. WPIX News 11’s Report on Misclassification dated 10/05/16.
